              Case 2:08-cr-00318-DAD Document 408 Filed 07/10/14 Page 1 of 3


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2
     Sacramento, CA 95814
3    (916) 447-1920
     Mike.Long.Law@msn.com
4
                             IN THE UNITED STATES DISTRICT COURT
5
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
6
     THE UNITED STATES OF AMERICA,    ) No. CR 08-318 LKK
7                    Plaintiff,       )
                                      ) STIPULATION AND PROPOSED ORDER
8
          v.                          ) TO TERMINATE PRE-TRIAL RELEASE
9
                                      ) SUPERVISION
     CLARISA ANG,                     )
10                   Defendant.       )
     ================================) Judge: Hon. Carolyn K. Delaney
11

12
            To Magistrate Judge Carolyn K. Delaney:

13          Defendant CLARISA ANG, by and through his attorney, Michael D. Long, and the
14   Government, by and through its attorney, Robert Tice-Raskin, stipulate as follows:
15
            Amaryllis Gonzalez, the Sacramento pre-trial services officer for Clarisa Ang, has
16
     determined that due to Clarisa Ang’s record of compliance with all of her pre-trial conditions,
17
     she no longer needs to be monitored by pre-trial services. AUSA Tice-Raskin and defense
18

19   counsel agree that terminating supervision is appropriate. The parties stipulate that all conditions

20   of Clarisa Ang’s pre-trial release and her supervision by Pre-Trial Services shall be terminated.
21
     It is understood by the parties that the unsecured appearance bond previously filed by the parties
22
     [ECF 15] shall remain in effect and that the United States Passport previously surrendered by
23
     Clarisa Ang [ECF 12] shall remain in the custody of the Court.
24

25   Dated: July 9, 2014                                  Respectfully submitted,

26                                                        /s/ Michael D. Long__________
                                                          MICHAEL D. LONG
27
                                                          Attorney for Clarisa Ang
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1

2
     Dated: July 9, 2014
3                                               BENJAMIN WAGNER
                                                United States Attorney
4

5
                                                /s/ Robert Tice-Raskin____
6                                               ROBERT TICE-RASKIN
                                                Assistant U.S. Attorney
7                                               Signed by Mr. Long with the permission
                                                of Mr. Tice-Raskin
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6
     THE UNITED STATES OF AMERICA,               ) No. CR-08-318 LKK
7                    Plaintiff,                  )
                                                 ) (Proposed) ORDER
8
            v.                                   )
9
                                                 )
     CLARISA ANG,                                )
10                   Defendant.                  ) Judge: Hon. Carolyn K. Delaney
     ================================)
11
            IT IS HEREBY ORDERED that the pre-trial release conditions for defendant Clarisa Ang
12
     are modified in the following manner:
13
            All conditions of Clarisa Ang’s pre-trial release are hereby terminated. The unsecured
14
     appearance bond previously posted shall remain in effect. Clarisa Ang’s United States Passport
15
     shall remain in the custody of the Court.
16

17   Dated: July 10, 2014
18                                                 _____________________________________
                                                   CAROLYN K. DELANEY
19                                                 UNITED STATES MAGISTRATE JUDGE
20

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